                                                           Case 2:20-cv-01761-APG-BNW Document 99
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                                                       2    Richard C. Gordon, Esq.
                                                            Nevada Bar No. 9036
                                                       3    Paul Swenson Prior, Esq.
                                                            Nevada Bar No. 9324
                                                       4    Christian P. Ogata, Esq.
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                                                      10    Attorneys for Defendants City of Henderson,
                                                            Richard Derrick, Bristol Ellington, Nicholas
                                                      11    Vaskov and Kristina Gilmore
                                                      12
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                                                                                          UNITED STATES DISTRICT COURT
                                                      13
Snell & Wilmer
                    Las Vegas, Nev ada 89169




                                                                                                     DISTRICT OF NEVADA
                         LAW OFFICES




                                                      14
                          702.784 .5200
                               L.L.P.




                                                      15    LATESHA WATSON,
                                                                                                                      Case No.: 2:20-cv-01761-APG-BNW
                                                      16                    Plaintiff

                                                      17           v.
                                                                                                                   NOTICE OF DISASSOCIATION OF
                                                      18    CITY OF HENDERSON et al.,                                       COUNSEL

                                                      19                    Defendants

                                                      20          NOTICE IS HEREBY GIVEN to the Court and parties that Theresa L. Guerra, Esq. is no

                                                      21   longer employed by Snell & Wilmer L.L.P., no longer associated with this matter, and should be

                                                      22   removed from the list of counsel of record in this case.

                                                      23   DATED: November 12, 2021                               SNELL & WILMER L.L.P.

                                                      24                                                   By:__/s/ Christian P. Ogata___________________
                                                                                                               Patrick G. Byrne (NV Bar No. 7636)
                                                      25                   Order                               Richard C. Gordon (NV Bar No. 9036)
                                                                 IT IS SO ORDERED                              Paul Swenson Prior (NV Bar No. 9324)
                                                      26         DATED: 3:46 pm, November 15, 2021             Christian P. Ogata (NV Bar No. 15612)
                                                      27                                                      Attorneys for Defendants City of Henderson,
                                                                                                              Richard Derrick, Bristol Ellington, Nicholas
                                                      28         BRENDA WEKSLER                               Vaskov and Kristina Gilmore
                                                                 UNITED STATES MAGISTRATE JUDGE


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                                                       1                                   CERTIFICATE OF SERVICE

                                                       2            I hereby certify that on November 12, 2021, I electronically filed the foregoing NOTICE

                                                       3   OF DISASSOCIATION OF COUNSEL with the Clerk of Court for the U.S. District Court,

                                                       4   District of Nevada by using the Court’s CM/ECF system. Participants in the case who are registered

                                                       5   CM/ECF users will be served by the CM/ECF system.

                                                       6
                                                                    DATED this 12th day of November 2021.
                                                       7

                                                       8                                               /s/ Gaylene Kim Mistrille
                                                                                                       An Employee of Snell & Wilmer L.L.P.
                                                       9
                                                           4858-8942-8995.1
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